             Case 8:18-bk-07770-RCT         Doc 29     Filed 06/04/19     Page 1 of 2



                                       ORDERED.

        Dated: June 04, 2019




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
In re

Carrie Bishop Kern
aka Carrie Lynn Bishop Kern
aka Carrie Lynn Bishop-Kern
                                                 CHAPTER         7
                                                 CASE NO.        8:18-bk-07770-RCT
      Debtor(s)
______________________________/

 ORDER GRANTING MOTION FOR RELIEF FROM STAY (DOC. NO. 28) FILED BY
   GTE FEDERAL CREDIT UNION DBA GTE FINANCIAL REGARDING REAL
                           PROPERTY

         THIS CAUSE came on for consideration upon the Motion For Relief From Stay

regarding REAL PROPERTY LOCATED: 3804 CORTEZ UNIT D TAMPA, FL 33614,

LEGALLY DESCRIBED AS: CORTEZ OF CARROLLWOOD A CONDOMINIUM

BUILDING 2 TYPE 1/1 3804 D CORTEZ CIRCLE .3630% OF OWNERSHIP IN COMMON

ELEMENTS, ACCORDING TO THE PLAT THEREOF, AS RECORDED IN PLAT BOOK

CB02, PAGE 39, PUBLIC RECORDS OF HILLSBOROUGH COUNTY, FLORIDA.

(“Collateral”) filed by GTE FEDERAL CREDIT UNION DBA GTE FINANCIAL ("Creditor").

The Motion was served on interested parties with the Local Rule 2002-4 Negative Notice legend

informing the parties of their opportunity to respond. No party filed a response within the time
            Case 8:18-bk-07770-RCT          Doc 29     Filed 06/04/19     Page 2 of 2



permitted. Therefore, the Court deems the matter unopposed. Accordingly, it is

       ORDERED as follows:

       1.      Creditor's Motion For Relief From Stay is granted.

       2.      The automatic stay imposed by 11 U.S.C. Section 362 is hereby terminated to

permit Creditor to commence, or recommence as the case may be, prosecute, and complete

through final judgment, sale and issuance of a Writ of Possession and Certificate of Title a

mortgage foreclosure action in state court with respect to the (“Collateral”) described as: REAL

PROPERTY LOCATED: 3804 CORTEZ UNIT D TAMPA, FL 33614, LEGALLY

DESCRIBED AS: CORTEZ OF CARROLLWOOD A CONDOMINIUM BUILDING 2 TYPE

1/1 3804 D CORTEZ CIRCLE .3630% OF OWNERSHIP IN COMMON ELEMENTS,
ACCORDING TO THE PLAT THEREOF, AS RECORDED IN PLAT BOOK CB02, PAGE 39,

PUBLIC RECORDS OF HILLSBOROUGH COUNTY, FLORIDA.

       3.      The relief granted here permits the Creditor to seek and obtain in rem relief against

the collateral/property only and does not permit the Creditor to seek or obtain in personam relief

against the Debtor(s).
       4.      Attorney’s fees and costs of up to $531.00 are hereby awarded for the prosecution
of this Motion for Relief from Stay but are not recoverable from the Debtor or the Debtor's

bankruptcy estate.
       5.      The fourteen (14) day period in Bankruptcy Rule 4001 (a)(3) is waived as

requested in the Creditor's Motion. The automatic stay shall terminate immediately upon the

entry of this Order.

                                                ###


Attorney Nicole Mariani Noel is directed to serve a copy of this order on interested parties who

are non-CM/ECF users and to file a proof of service within three days of the entry of this order.
